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` U. S, Postal Serv'ice

EEO investigative Affidavit (Vl/itness)

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Case 1:05-cv-01923-JD_B Document 13-14 Filed 01/17/2006 Page 1 of 12

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PIe No. No. Pagec Case No.
1 4K-220~0002-03

 

 

 

‘l. Afl"tant's Name (First, Middle. Last)

Car|ton Mc_Goy me fda\/

2_ Employrng Posiar Facrtrry

Ariington Post Office

 

3, Posit`tot`l Title 4. Grade L&vel

Supervisor

 

 

' 5_ Posrai Aadress and zip-nl
3119 Washingtort Blvd.
Arlington, VA 22210-9998

IB. Unit Assigned

 

_ ;_ ' n Privacy Acr i\lotice `

Pn'vaq,» ncr Notice. the correction or this information is authorized by me squat
Employment Opponunity Act of 1972, 42 UrS_C_ § 2000e-16; the Age
Discrirnination in Employment Act of 1967_ as amended 29 U_S,C. § 6333; the
Rehabilitation Act of 19?3, as`amended, 29 U_S.C. § ?94a; and Executive Order
114?8. as amended This information will be used to ad}udtcate complaints ct
alleged discrimination and to evaiuate the effectiveness of the EEO program As
a routine Use, this information may be disclosed to an appropriate go»emrnent
agency,` domestic or foreign for law enforcement purposes', where pertinent in a
legal proceeding to which the _USPS is a party or has an interest to a
govemment_agency in order to obtain information relevant to a USPS decision
mncerning employment security clearances, contracts licenses granis, permits
` or other benel'r`ls', to a govemrnent‘agency upon its request when relevant to its

investigations contacts licensee grants or other benefits; to _a congressional
office al your request; to an e)q:zert, consultant or other person under contract
with the USPS to fulfill an agency function; _to the Federal Records Center for
storage; to the Oh'rce ct Managernent and Budget for review of private relief
_legislation; to an independent confined public accountant during an othdal audit of

' USPS linances; to an investigator, administrative judge or complaints examiner

appointed by the Equal Employment Oppomrnity Cornmission for investigation of

a formal EEO complaint under 29 CFR tot=i‘, to the Merit Systems Protection

Board or Otiice of Special Coun`sei for proceedings or investigations involving

personnel practices and other matters within their iurisdiction; -and to"a labor

organization as required by the national labor Relations Act. Under the Privacy

Act provision, the information requested is voluntary for the complainant and for
' Postal Service employees and other witnesses

decision concerning ernpli;>yrr\r-mtl security clearances. security or suitabiiity

uSPS standards or_conducr

 

Postal Service regulations require ali postal employees to cooperate in any postal investigation
Fai|ure to supply the requested information could result in disciplinary action (El_M 666_)

 

7. Statement (Use Form 2569 if additional space is required}

l understand that the following allegations have been accepted for investigation; Mr. Marco'.l.
Thomas alleges discrimination based on mental disability (stress), age (DOB: 10/1`4!62), and
retaliation (p'rior EEO_ activity) when: (1) on September 16, 2002, his request for LWOP in lieu of
annual or sick leave for the period of Se_pte_mber 5, 2002 until further notice was disapproved by
Postmaster l\lapper; (2) on Decem_ber 9, 2002, he reported for duty as scheduled, however he `
was yelled at in front of fellow employees by Supervisor Mark Johnson to get off the floor and
return at 10100 AM-; (5) on December 2, 2002, after returning from an appointment at the USPS
medical 'u-nit, he was advised by supervisor Johnson that his reporting time had_been changed
from 7:00 AM-t`o 9.'00 AM that day thus making the job reiated appointment off-the*clock when it
should have been on~'the-clock; and (6)' on'February 10, 2003, he received a Notic_e of 14-Days
Suspension from Marlr Johnson. .

‘- Qt_ What is your full name (frrst, middle initial and`last)?

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02. What is your position title pay grade, work unit and work location address? `

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ent13-14 Filed 01/17/2006 Page:2 of 12

 

Case 1 :05-cv-01923-JDB Docum

Q3. What is your mental disability, if you have one?

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Q4. What is your age and date of birth?
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Q_E). Do you have any prior EEO activity (as a witness, complainant representative etc.)? |f so,
when did this prior EEO activity take pta'ce?

;' \/)’¢’//Q'( /<j€="l£ jul/4 y tri/21 <{W& .'

A5.

QG. Were you involved or'do you have knowledge of Mr. Thomas’s prior EEO activity? lt so,
' how and when were'you involved, or when did you become aware of the prior EEO
activity? 7 `

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lQ’_`I'. Were you aware that Mr. Thomas suffered from stress? lt so, when did you become
aware? l
A_'r'.

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QB. What was your work relationship with Mrl 'Thomas during the time period of the matters at
` issue (Septe'mber and December 2002 and February 2003), and what is your current
relationship? (lmmediate supervisor, second-level supervisor, etc.) -
AB.

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lssue #1: Gn September 16, 2002, his request for LWOP in lieu of annual or sick leave for the
period of September 5, 2002 until further notice was disapproved by Postmaster Napper

 

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Case 1:05-cv-01923-JDB Document13-'14 Filed 01/17/2006 Page=3 of 12

091 What was you involvement or knowledge of Mr. Thomas requesting LWO_P in lieu of annual
or sick leave on Septernber 16, 2002, for the period September 5, 2002 until_further notice,
and what reason(s) did Mr. Thomas give for the request?

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AQ.

Q 1 0. What waslwe_re the reason(s) for denying _Mr. Thom'as’s request for LWOP_, and who denied

the request‘? l _ l -_ ll é ?l -_ _ .
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A10.

011. What other management ofhciais were involved with the decision to deny Mr. Thornas’s
request for LWO.P'? lt so, identify the management oft'ccial(s} and their,reason(s) for the
denial. " ` ' ‘

A11..

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012__ What is policy regarding the granting of LWOP in lieu of annual or sick leave, and was this
followed with regard to Mr, Thomas? ' . '

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Q13. Mr- Thomas identified Destra Beyne and Demetnce lvlundy as employees who were rea ed
-- differently than he was. Was Destra Beyne and Demetrice Mundy allowed to take LWOP

A12.

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Casel:os-cv-01923-JDB Document13-14 Filed 01/17/2006 Page`4of"12

in lieu of sick or annual leave? lt so, who gave the approval', and when did they take
y LWGP? ' ‘ - `
A1`3.

014_ lt Destra Beyne and Demetrice M.und-y were allowed to take LWOF’ in lieu of sick or annual
' ieave, what were the reasons and how did their circumstances differ trom;'lvlr. Thomas’s?
(Plea_se identify Destra Beyne and D'ernetrice Mundy by mental disability, §if they have one,
age and prior EEO activity) ' 5

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kin/dp Gi/` \L.LM,@ man/ila t

QTS. Were other similarly situated employees to Mr. Thomas, under the same or similar
circurnstanoes1 allowed to take LWOP in lieu ot sick or annual leave? lt sq, why were their
requests approved and not Mr. Thomas’s, and what management ottlcial(sé) approved

l LWOP for_these employees? (Please identify these employees by name, position title,
g`rade, mental disability, age and prior EEO activity) §

016. Was Mr. Thomas’s mental disabilit a factor when his request to use LWOP in lieu of

 

annual or sick leave was denied? if so, explain the reason(s)

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Q17. Was Mr. Tho'mas’s age a factor when his request to use LWOP in tieu of andual or sick
leave was denied? lf so, explain the reason(s) ` ‘

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Case-l:OB-cv-O'1923-JDB Document13-14 Filed 01/17/2006 Page50t12

QlS. Was Mr. Thomas’s prior EEO activity a' factor when his request to use LWOP in lieu ot
annual or sick leave was denied? lt so, explain the reason(s)

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A‘18_`

Ql§_ Dld Mr. Thomas tile a grievance on this issue? lt so1 what was the outcome `ot the
grievance? - 7 - l
A19_

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lssue #2: C)n December 9, 2002, he reported for dry as scheduled_Lhowever he was veiled at in
front of fellow employees by Supervisor Mark Johnson to qet ott the ticor and return at

\'10200 AM '

`QZO. On December 9, 2002, did Mr. Johnson yell at Mr. Thomas in front of other employees to
get off the tloor and return at 10:00 AM? lt so, how and when did you learn about it, and
why did Mr. Johnson yell at Mr. Thomas? (Explain the circumstances) `

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021. Did you tell Mr. Thomas to leave the workroom tloor, clock out and return at 10:00 AM? lt
so, why did you tell him this? ' ' §

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Q25.

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case 1:05-cv-01923-JDB Document 13-1'4 Filed 01/17/2006 Page 6 ot_12

_Prior to this incident, had Mr. John.son yelled at an employee in front ot other employees to
get off the floor and return at a later time? lt so1 when and why did this take place?
(ldentify the employee(s) by name, position titlej grade, mental disability'; age and whether
they had prior EEO activity) `

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ls lt Mr. Johnson’s management style to yell at an employee in front of other employees, or
to tell them to get ott the floor and return ata later time_? t

/t/0

What-is policy/agreement regarding a supervisor yelling at an employee in front of other
employees,__ or telling an employee to get oft the floor and return ata later time?

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' bia \LFJ€/W\&c£ l/l/l ¢/Zk dry .»w+ tin/cf
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Was Mr. Thomas’s mental disabilityl a factor when Mr. Johnson yelled at him in front of
other employees to get ott the floor and return at tO:OO AM on Decernber 9`;, 2002? lt so,
explain the reason(s) -

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Case1:05-cv-01923-JDBA Document13-14 Filed 01/17/2006

026. Was Mr. Thomas‘s age a factor when Mr. Johnson yelled at him in front of other employees
to get ott the floor and return at 10:00 AM on December 9, 2002? lt so, explain the
reason(s)

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027. Was l'l/ir.l Thomas’s prior EEO activity a factor when Mr. Johnson yelled‘atihim in front_of
oth-er employees to get off the floor and return at 10:00 AM on Decernber 9, 2002? lt so,

explain the-reason(s)

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028. _ Did Mr. Thomas tile a grievance on this issue? lt so, what was the outcome of the
gnevance? - `

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AZB‘.

lssue #5: On December 2, ZOOZJ after returninq_trom an appointment at the USPS medical unit,
he was advised by supervisor Johnson that his reporting time had been changed from
7:00 AM to 9100 AM` that day thus making theriob related appointment'off-the-c|oc.k when it
should have been on-the-clocl< l -

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C!ZQ. - On Decernber 2, 2002, did ‘Mr. Johnson change Mr. Thomas’s reporting tlnie from 7:00 AM
to 9100 AM? lt so, what was/were the reason(s), and what was your involvement?
A29. i-

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Page fl of /

030'. What other management officials were involved with changing Mr. Thomas’s' reporting
time from 7:00 AM to 9:00 AM, and what were;their reasons for doing this? §

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-Case 1:05-cv-01923-JDB Document 13-14 Filed 01/17/2006 Page 8 ot 12

What1s policy regarding changing an employee’ s reporting time when he/she has a
medical appointment and was this followed with regard to Mr. Thomas?

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  gi FQ pf[€rh "'(/O C‘~»’“ O»fO{/orn/Y;mu)r/tz’:i \{JZ?_

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Has the reporting time of other similarly situated employees to Mr. Thomas, under the

- same or similar circumstances changed? if so, what was the reason, and what

management off c1al(s) made the decision? (Please identify these employees by name

_ position title grade, mental disability age and prior EEO activity)

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Was Mr Thomas’ s mental disability a factor when his reporting time was changed? lt so,
explain the reason(s)

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Was Mr. Thomas’ s _g_ a factor when his reporting time was changed? lt so explain the
reason(s)

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Was Mr. Thomas‘ s prior EEO activig a factor when his reporting time was changed? if so,
explain the reason(s)

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l Case1 05 c-v- 61623- JDB Document 13- 14 F1|ed 01/17/2006 Page 6 of 12

036 Dicl Mr. Thomas f le a grievance on this issue? lt so what was the outcome of the

grievance?
ABB.

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issue #6: On Februar_y_‘lO 2003 he received a Notice of 14-Davs Suspension from Mark
Johnson 1

037. What were the reasons that on February 10 2003 Mr. Johnson gave Mr Thomas a t -_
' Notioe of 14- -Day Suspenslon and what was your lnvolvement? 1

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A37.

038. Were other management off cial(s) involved with the'decision to give Mr. Thomas the
Notice of 14_- -Day Suspension? lt so, what management officials were involved and how
were they involved? 1

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Q39. Was Mr. Thomas given any warnings prior to the issuance of the Notice of 14- Day
Suspension? lt so, what were the warnings when were they given and what management
ofticial(s) gave him the warnings? 1

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Case1:05-cv-01623-JDB Document13-14 Filed 01/17/2006 'Page5100112

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Q41_

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.A44.

What ls policy/agreement regarding zssuing a Notice of 14-Day Suspension to an

employee1 and was this policy/agreement followed with regard to Mr. Thomas?
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1

Were other similarly situated employees to Mr. Thomas under the same or similar

circumstances given a Notice of 14- -Day Suspension? if so, what were the reasons and
what management ofl'zcia|(s) were involved? (Please identify these emplayees by name,
position title grade mental disability age and prior EEO activity)

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Was Mr Thomas’ s mental disability a factor when he was given a Notice pf 14-Day
Suspension? lf so explain the reason(s)

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Was Mr Thomas’ s §_g_ a factor when he was given a Notice of 14- -Day Suspension’? if so,
explain the reason(s)

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"Was Mr Thomas s grior EEO activity a factor when he was given a Notice ot 14- -Day

Suspension? lf so explain the reason(s)
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Q45. Did Mr. Thomas file a grievance on this issue? if so, what was the outconje of the
grievance-27
- ‘ €A45.

'-046-. is there anyone yoti would care to name who has knowledge of the matters at lssue? itt
so please provide the person s name, position title job location telephonje number and

tires specific knowledge the person has)

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Q47. is there anything related to the accepted issues you want to add to your statement?
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Provide a copy of any documentation you believe supports your statements

l declare under penalty of perjury that the foregoing is true and correct

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_U.S. Postal.Service
Certit"lcation

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Case No.

4K-220~oooz-os`

 

l have read the proceeding attached statement consisting of

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pagesl and it is true and cjompiete to the best

of my knowledge and belief in making this statement, i understand Sectiol_'l 1001 Title 18 of the U. S Code which

states:

“Whoever in any manner within the jurisdiction of any department or agency of the United Sjtates knowingly
and witfuiiy fais'lfies, conceals or covers up by any trick, scheme, orj device a materiai fac_t. or makes any
f,aise fictitious or fraudulent statements or representation or makes or uses any false writing or document
knowing the same to contain any false, fictitious or fraudulent statement or entry, shall bej fined not more

than 510 000 or imprisoned not more than 5 years, or both ”

l
j _

jj jj . j j Privacy ActNotice j jj _ _ j _

Privacy Act Notico_ The coilection of this information is authorized by
' the Equal Employment Oppor_tunity Act' of 19?2, 42 U.S_C. § ZOOGe"lS;
the Age Discrii;nl'nation_ in Ernptoyment Act of 1967, as amended 29
US..C § 6333; the RehabifitationAct of _.1973 m amended 29U_S.C §
794a; and Executive 0rder11478 as amended This information will be
used to adjudicate compiaints of alieg'ed discrimination and to evaluate
the effectiveness of the EEO program As a routine use, this information
may be disclosed to an appropriate government agency, domestic or
foreign, for law enforcement purposes; where pertinent in a legai
proceeding to which the USPS is a party or has an interest to a

govemment agency in order to obtain information relevant to a USPS.

decision concerning enripi_oyrnentl security ciearanoes,- contracts
licenses grants permits or other bienet`lts; to a government agency upon
its requestwl'ien relevant to its decision concerning employment1 security

clear'ai`icesl security or suitability invEtigations. contracts icensas

grants or other benefits; to a congressional otfj ce at your request to an

' expert, consultant or other person under contract with the USPS to fulftl

an agency function; to the Fe_dera| Records Cjenter for storage; to the
Ofnoe of Management and Budget for renew of private relief legislation
to an independent mertitied public accountant during an official audit of
USPS tina'ices; to an investigator administrative judge or complaints
examiner appointed by the Equal Emptoyment j‘iOpportunity Comrniss`lon
for investigation or a formal EEO complaint undje 29 CFR 1614; to the
Merit Systems _Protection Board or Offlce of Special Counsel for
proceedings or investigations invoi\iing personnel practices and other
matters within their jun'sdiction,' and to a labori organization as required
by the National tabor Reiations Act Under the Privacy Act provision
the information requested is voluntary for the complainant and for Postat
Service errlp!oyees and other witnesses §

USPS Standards of Conduct

 

Postal Ser_vice regulations require all postal employees to cooperate in any postal investigation
Failure.to supply the requested information could result in disciplinary action (ELM 666).

' Oath i' At'firmatiol'l

 

l
Subscribed and (swom) {aft`lnned) before me on this XXXX day of XXXXXXXXXX . éOXX

Aftiant`s Signature (Sign in the presence of l§EO lnvesti@or t

 

 

Signature of EEO Complaints lnvestigator

j-Signature ofAfhant

 

Deciaration

 

l declare. under penalty of perjury, that the foregoing is true and correct

{'Aiiianjf, sign and date/§}attached statement was not completed in fire presence of the EEO invesiigafor. )

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§ “““S‘°"Qn“`"‘°'@ WMM

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Date Signed

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